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                     EXHIBIT “4”
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                                                                         AFFIDAVIT OF RAMDHAN y ADAY KOTAMABA,JA
                              STATE OF M~.i5lACl H:1815 I i S " §
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                              COUNTY OF MIQPb~EffiJ(                                                §
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                                              ON THIS DATE, said Affiant personally appeared before me, the undersigned Notary

                              Public, and after being duly swam, stated the following under oath:

                                         1. "My name is Ramdhan Yadav Kotamaraja. I am over fourteen (14) years of age and 1am
                                            of sound mind. I have never been convicted of a crime and I am fully competent to make
                                            this affidavit. I have personal knowledge of each and every fact stated herein, and each
                                            and every fact stated herein is true and correct.

                                     2. I am a director of Novedea Systems, Inc. (Novedea), a Texas corporation registered with
                                        the Texas Secretary of State. The corporate offices of Novedea are located at 1750 North
                                        Collins Boulevard, Suite 212, Richardson, Texas 75080.

                                     3, Novedea was formed in May, 2005. Novedea's business pursuit is to train and place
                                        workers at infonnation technology (IT) companies throughout the United States, with an
                                        emphasis on placing workers who are primarily citizens of the United States or non-
                                        citizens of the United States who are citizens oflndia.

                                         4, In addition to myself, there are three other directors of Novedea: Srihari Govindarajan
                                            (Govindarajan) Suresh Rajappa (Rajappa), and Ananda Babu Dasari (Dasari), I own 35
                                            percent of the shares of Novedea, Govindarajan owns 39 percent of the shares, Rajappa
                                            owns 8.S percent of the shares, and Dasari owns 17.5 percent of the shares,

                                         5. In late 2009 1 Novedea was a modestly-profitable business, with gross monthly revenues
                                            of approximately $25,000. However, the revenues of Novedea began to rapidly grow,
                                            and by 2011 Novedea had become a very profitable enterprise. Now gross monthly
                                            revenues average $l 6S,000.

                                         6. l recently learned that In June 2011 Govindarajan and Rajappa formed another company,
                                            Intellisee Group, Inc. (lntellisee), which directly competes with Novedea in the IT
                                            industry. Govindarajan is the owner of lntellisee. The address for the corporate offices
                                            of Intellisee is 1200 West Walnut Hill Lane, Suite 30001 Irving, Texas 75038. I also
                                            learned that Govindarajan lured Rajappa away from Novedca to form lntellisee. Rajappa
                                            enticed a key trainer, Kishan Chandra Golla, away from Novedea to work at lntellisee.
                                            Rajappa did this under the guidance and approval ofGovindarajan.

                                         7. Further, l learned that Intellisee was contacting clients of Novedea to sell them services,
                                            in direct competition with Novedea. Moreover, lntellisee is using the accountant
                                            employed by Novedea, Christopher Palaparthi, as the accountant for lntellisee, which
                                            threatens the disclosure ofNovedea's confidential information to lntellisee.


                               AFFIDAVIT OF RAMl>HAN YADAV KOTAMARAJA - Paae I

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      8, On January 21, 2012, a meeting was held of the directors and shareholders of Novedea,
         The attendees were me, Govindarajan, Rajappa, and Dasari. Dasari and I confronted
         Govindarajan and Rajappa with the knowledge that they had formed lntellisee.

      9, At the January 21, 2012 meeting, Govindarajan agreed with the other directors and
          shareholders of Novedea to work together to dissolve Novedea, or for Govindarajan to
          sell his shares to Novedea to the other shareholders, or for us to sell Novedea to a third
          party. The directors and shareholders agreed to meet again on February 11, 2012 to take
          action regarding one of the three options.

       l 0, On January 24, 2012, I learned that Govindarajan had the exterior lock to the entrance to
            Novedea changed without notice to anyone else at Novedea, and that only Govindarajan
            has a key to the new lock. This action by Govindarajan makes it impossible for
            employees to enter the offices ofNovedea and perform their jobs.

       11. Novedea maintains two bank accounts. Bank of America account number      4621
           contains approximately $100,000, First Financial Bank of Texas account number
                   6326 holds approximately $150,000. Only l and Govindarajan know the
           passwords to the accounts.

       12. On January 24, 2012, I learned that Govindarajan changed the passwords to our two bank
           accounts, Because of this, Noveda currently cannot carry out essential corporate
           functions, such as issuing payroll checks (which, bi•monthly, exceed $50,000),
           processing accounts receivable, or issuing checks for accounts payable.''

          FURTHER AFFIANT SA VETH NAUGHT.

          EXECUTED ON the             a.6           day of     g-A ti             I   201 S2=,




          SUBSCRIBED AND SWORN TO BEFORE ME ON the                                           .?6,    day of

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